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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


 JASON LEE VAN DYKE                  §
                                     §
                                     §                Civil Action No. 4:18-CV-247
 v.                                  §                Judge Mazzant
                                     §
 THOMAS RETZLAFF, a/k/a DEAN         §
 ANDERSON, d/b/a VIA VIEW FILES LLC, §
 and VIA VIEW FILES                  §

                                             ORDER

       On June 22, 2020, Non-Party James McGibney (“McGibney”) filed a Motion to Quash

Subpoena (Dkt. #183).      The subpoena, served by Defendant Thomas Retzlaff, commands

McGibney to appear for deposition on June 23, 2020 in Austin, Texas (Dkt. #182). Also, on June

22, 2020, Plaintiff Jason Lee Van Dyke filed his brief in support of McGibney’s motion

(Dkt. #184).

       Federal Rule of Civil Procedure 45 governs subpoenas to non-parties. FED. R. CIV. P. 45.

Under Rule 45, a non-party must file a motion to quash or modify a subpoena in the court for the

district where compliance is required. Johnson v. Air Liquide Large Indus. U.S. L.P., No. 2:18-

CV-259-WCB, 2019 WL 4394854, at *3 (E.D. Tex. Sept. 13, 2019); see also FED. R. CIV. P.

45(d)(3) (listing circumstances under which “the court for the district where compliance is required

must quash or modify a subpoena”).

       Here, compliance is required in Austin, Texas, because that is where the proposed

deposition would take place. Austin, Texas, is in the Western District of Texas. Accordingly, any

motion to quash or modify a subpoena would have to be filed in the Western District of Texas, not

in this Court.
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           It is therefore ORDERED that Non-Party James McGibney’s Motion to Quash Subpoena

    (Dkt. #183) is DISMISSED without prejudice to refile before the appropriate court.

           IT IS SO ORDERED.

           SIGNED this 22nd day of June, 2020.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




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